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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE


In re:                                                      Chapter 11

ENERGY FUTURE HOLDINGS CORP., et al., 1                     Case No. 14-10979 (CSS)

         Debtors.                                           (Jointly Administered)

                                                            RE: D.I. _______



    ORDER (I) GRANTING EMERGENCY MOTION OF CERTAIN ASBESTOS
CLAIMANTS TO CONTINUE SEPTEMBER 16, 2014 HEARING WITH RESPECT TO
THE IMPOSITION OF A CLAIMS BAR DATE AFFECTING PRESENT AND FUTURE
 ASBESTOS PERSONAL INJURY CLAIMANTS AND (II) SHORTENING NOTICE
PURSUANT TO FED. BANKR. R. 9006 AND D. DEL. LOCAL R. BANKR. P. 9006-1(E)
                RELATING TO THE EMERGENCY MOTION

         Upon consideration of the Emergency Motion of Certain Asbestos Claimants to Continue

September 16, 2014 Hearing With Respect to the Imposition of a Claims Bar Date Affecting

Present and Future Asbestos Personal Injury Claimants (the “Emergency Motion”) and the

accompanying request pursuant to 11 U.S.C. §§ 102(1) and 105, Fed. Bankr. R. 9006, and D.

Del. L.R. Bankr. P. 9006-1(e) for an order shortening notice on the Emergency Motion, and it

appearing that due and proper notice of the Emergency Motion has been given; and good and

sufficient cause appearing therefore,

         IT IS, on this ___day of ____________, 2014;

         ORDERED as follows:

         1.       The Emergency Motion is hereby GRANTED.


1
  The last four digits of Energy Future Holdings Corp.’s taxpayer identification number are 8810. The location of
the debtors’ service address is 1601 Bryan Street, Dallas, TX 75201. Due to the large number of debtors in these
Chapter 11 cases, for which joint administration has been granted, a complete list of the debtors and the last four
digits of their federal tax identification numbers is not provided herein. A complete list of such information may be
obtained on the website of the debtors’ claims and noticing agent at http://www.efhcaseinfo.com.




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       2.     The hearing on the Bar Date Motion is hereby continued to November ___, 2014,

subject to further continuance, until such time as the proposed asbestos claimants committee has

retained professionals, and has an opportunity to review and respond to the Bar Date Motion.




                                            The Honorable Christopher S. Sontchi
                                            United States Bankruptcy Judge




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